Case 3:09-cr-03393-BTM      Document 318      Filed 09/19/11    PageID.1238      Page 1 of 2



  1
  2
  3
  4
  5
  6
  7
  8                          UNITED STATES DISTRICT COURT
  9                        SOUTHERN DISTRICT OF CALIFORNIA
 10
 11    UNITED STATES OF AMERICA,                          Case No. 09cr3393 BTM
 12                                      Plaintiff,       ORDER DENYING SECOND
                 v.                                       MOTION TO DISMISS § 851
 13                                                       INFORMATION
       SHAWN HOLIDAY,
 14
                                      Defendant.
 15
 16
             Defendant Shawn Holiday has filed a second motion to dismiss the § 851 Information.
 17
      Defendant’s motion is DENIED.
 18
             Defendant argues that the record does not contain a factual basis upon which to
 19
      conclude that he pled guilty to a felony drug offense that would subject him to enhanced
 20
      penalties under 21 U.S.C. § 841(b)(1)(B). Defendant’s argument fails because, for the
 21
      reasons set forth in the Court’s Order of August 23, 2011, Defendant’s conviction under Cal.
 22
      Heath & Safety Code § 11359 categorically qualifies as a felony drug offense.1 Accordingly,
 23
 24
             1
               Prior to amendment in 2011, Cal. Health & Safety Code § 11359 provided: “Every
 25   person who possesses for sale any marijuana, except as otherwise provided by law, shall
      be punished by imprisonment in the state prison.” California Health & Safety Code § 11362
 26   defined a “felony offense” as “an offense for which the law prescribes imprisonment in the
      state prison as either an alternative or the sole penalty, regardless of the sentence the
 27   particular defendant received.” (Emphasis added.) California Penal Code § 18 provided:
      “Except in cases where a different punishment is prescribed by any law of this state, every
 28   offense declared to be a felony, or to be punishable by imprisonment in a state prison, is
      punishable by imprisonment in any of the state prisons for 16 months, or two or three years.”

                                                      1                                 09cr3393 BTM
Case 3:09-cr-03393-BTM      Document 318      Filed 09/19/11    PageID.1239      Page 2 of 2



  1   there is no need to apply the Taylor modified categorical approach (Taylor v. United States,

  2   495 U.S. 575 (1990)) and examine judicially-noticeable documents to determine the factual

  3   predicate of Defendant’s guilty plea.

  4          Defendant again argues that the state court reduced his offense to a misdemeanor.

  5   However, the record does not support Defendant’s claim. Defendant pleaded guilty to

  6   violating Cal. Health & Safety Code § 11359 and was convicted thereunder. Regardless of

  7   what sentence the state court actually imposed, the offense was a felony drug offense.

  8          Defendant also agues that he thought he was pleading guilty to a misdemeanor and

  9   that fairness requires that his reasonable expectations be taken into account. This Court

 10   does not have the ability to set aside Defendant’s guilty plea or amend the judgment of

 11   conviction to conform to Defendant’s expectations. The relevant facts before the Court are

 12   that Defendant pleaded guilty to violating Cal. Health & Safety Code § 11359, which qualifies

 13   as a “felony drug offense,” and was convicted of such offense. Therefore, Defendant is

 14   subject to enhanced penalties under 21 U.S.C. § 841(b)(1)(B), and his second motion to

 15   dismiss the § 851 Information is DENIED.

 16   IT IS SO ORDERED.

 17
      DATED: September 19, 2011
 18
 19
                                                 Honorable Barry Ted Moskowitz
 20                                              United States District Judge

 21
 22
 23
 24
 25
 26
 27
 28


                                                   2                                    09cr3393 BTM
